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                             UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL, LP,                               §              Case No. 17-40179
                                                           §              Chapter 7
        DEBTOR.                                            §

     PAYSON PETROLEUM, INC. TRUSTEE’S MOTION FOR AUTHORITY TO
    COMPROMISE CONTROVERSIES PURSUANT TO FED. R. BANKR. P. 9019(b)

TO THE HONORABLE BRENDA T. RHOADES, UNITED STATES BANKRUPTCY JUDGE:

        COMES NOW, Jason R. Searcy, chapter 11 Trustee (the “Trustee”) for the bankruptcy

estate of Payson Petroleum, Inc. and files this Motion for Authority to Compromise Controversies

Pursuant to Fed. R. Bankr. P. 9019(b) (the “Motion”), and shows:

                                           RELIEF REQUESTED

        1.      The Trustee seeks authority to settle controversies with the defendants in Adversary

Proceeding No. 18-04074 and dismiss claims against settling defendants under Federal Rule of

Civil Procedure 41(a)(1) of the Federal Rules of Civil Procedure, made applicable by Rule 7041

of the Federal Rules of Bankruptcy Procedure, without further notice or hearing pursuant to Fed.

R. Bankr. P. 9019(b).

                                                  BACKGROUND

        2.      On October 27, 2017, the Court entered its Agreed Order Granting Joint Motion to

Approve Compromise and Settlement Pursuant to Bankruptcy Rule 9019 [Docket No. 37] which

provided, inter alia, that

                Payson Petroleum is hereby granted standing and authority to
                enforce and prosecute…the 3 Well LP Partnership Related Claims
                without further order of this Court. Payson Petroleum is hereby
                appointed the representative of the 3 Well LP bankruptcy estate for
                purposes of prosecuting the…3 Well LP Partnership Related Claims

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               pursuant to the 3 Well LP Subject Claims Assignment and
               Participation Agreement.

Docket No. 37 at paragraph 10.

       3.      On September 12, 2018, the Trustee filed Adversary Proceeding No. 18-04074 (the

“Adversary Proceeding”) in the above-captioned bankruptcy case. The Trustee sued 109 general

partners of Payson Petroleum 3 Well, LP (the “Partnership Debtor”) as jointly and severally liable

for the deficiency in the Partnership Debtor’s estate property to pay allowed claims against the

Partnership Debtor under 11 U.S.C. § 723(a) and Texas partnership law.

       4.      On September 24, 2018, Summons was issued for the defendants in the Adversary

Proceeding, who were served with process by first class, certified mail, return receipt requested.

Their answer date is October 24, 2018.

                                ARGUMENTS AND AUTHORITIES

       5.      Federal Rule of Bankruptcy Procedure 9019 governs compromises with the trustee

and provides that “[a]fter a hearing on such notice as the court may direct, the court may fix a class

or classes of controversies and authorize the trustee to compromise or settle controversies within

such class or classes without further hearing or notice.” FED. R. BANKR. P. 9019(b).

       6.      Under 11 U.S.C. § 105(a), this Court may “issue any order, process, or judgment

that is necessary or appropriate to carry out the provisions of this title.” 11 U.S.C. § 105(a).

       7.      The Trustee requests authority to settle his claims against the defendants in the

Adversary Proceeding without further hearing or notice. This would further the Bankruptcy

Code’s policy of efficiency in case administration and would be a more efficient use of the Court’s

resources than to require a separate motion under Bankruptcy Rule 9019(a) for settlement with

each individual defendant.




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       WHEREFORE, PREMISES CONSIDERED, Jason R. Searcy, chapter 11 Trustee for the

bankruptcy estate of Payson Petroleum, Inc., prays that the Court grant this Motion and for such

other relief as the Court finds appropriate and just to grant.



                                                      Respectfully submitted,

                                                      SNOW SPENCE GREEN LLP



                                                      By: /s/ Blake Hamm
                                                              Blake Hamm, SBN 24069869
                                                              blakehamm@snowspencelaw.com
                                                              Aaron Guerrero, SBN 24050698
                                                              aaronguerrero@snowspencelaw.com
                                                              Bryan Prentice, SBN 24099787
                                                              bryanprentice@snowspencelaw.com
                                                              2929 Allen Parkway, Suite 2800
                                                              Houston, Texas 77019
                                                              (713) 335-4800
                                                              (713) 335-4848 (Fax)
                                                      Attorneys for Jason R. Searcy,
                                                      Trustee for Payson Petroleum, Inc.




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                                           CERTIFICATE OF SERVICE

        The undersigned certifies that on October 9, 2018, a true and correct copy of this document
was served (i) via the Court’s electronic case filing system upon the parties listed below or by
email listed below, (ii) via the Court’s electronic case filing system for Eastern District of Texas
upon all parties requesting electronic notice of all filings and (iii) via regular First Class Mail,
properly addressed and postage prepaid, upon all parties listed on the Master Service List attached
hereto.

 Debtors Payson Petroleum, Inc., Payson Operating, Debtor Payson Petroleum 3 Well, LP
 LLC, and Maricopa Resources, LLC                  1757 Harpsichord Way
 Mark A. Weisbart                                  Henderson, NV 89012
 12770 Coil Road, Suite 541
 Dallas, TX 75251
 weisbartm@earthlink.net,
 TX56@ecfcbis.com;mweisbart@ecf.epiqsystems.com;
 tarah_simmons@earthlink.net

 Christopher Moser                                                            Keith W. Harvey
 2001 Bryan Street, Suite 1800                                                THE HARVEY LAW FIRM, P.C.
 Dallas, TX 75201                                                             6510 Abrams Road, Ste. 280
 cmoser@qslwm.com                                                             Dallas, TX 75231
                                                                              harvey@keithharveylaw.com

 Dan Chern                                                                    Daniel P. Winikka
 The Law Offices of Dan Chern                                                 12377 Merit Drive, Ste. 900
 12801 N. Central Expressway, Suite 1558                                      Dallas, TX 75251
 Dallas, Texas 75243                                                          danw@LFDSlaw.com
 dbc@dchern.com

 US Trustee
 Office of the US Trustee
 110 N. College Ave, #300
 Tyler, TX 75702
 USTPRegion06.TY.ECF@USDOJ.GOV



                                                            /s/ Blake Hamm
                                                            Blake Hamm




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                                                                                                        Aki Miyasaki
0540-4                                                1795 E. 71st Street                               1415 W. Rascher Ave.
Case 17-40179                                         Tulsa, OK 74136-5108                              Chicago IL 60640-1205
Eastern District of Texas
Sherman
Mon Oct 8 15:46:18 CDT 2018
Alan Careddu                                          Albert and Audrey Carse                           Alfred and Barbara Austin
32 Lasky Rd.                                          7000 Brier Hill Court                             15320 Fulton St.
Beacon Falls CT 06403-1242                            Fort Worth TX 76132-7111                          Brighton CO 80602-5639



Allen and Marcia Rastede                              Alma Foster                                       Alvin and Jerry Ann McCool
211 S. Grove St.                                      5316 Northcrest Rd.                               1033 Creek Hollow Lane
Allen NE 68710-5145                                   Ft. Worth TX 76107-3217                           Fort Worth TX 76131-3816



Amy Hutchison                                         Anne Patterson                                    April Markovics
Kijabe, LLC                                           3725 Wakeforest                                   1620 N. Peters Lane
3602 Vista Chase Court                                Houston TX 77098-5511                             Stratford CT 06614-1088
Arlington TX 76001-6963


Arnold Block                                          Audrey Schwarzbein                                B. E. Tuttle
Blockster Investments Ltd.                            31331 S. Coast Hwy.                               Aquarius 2000, LLC
2317 Clearview Ct.                                    Laguna Beach CA 92651-6989                        105 Front Street
Lewisville TX 75057-2108                                                                                Beaufort NC 28516-2120


Barbara Jacquin                                       Barry Brodbeck                                    Beckie Harkins
205 Pipecreek Lane                                    1891 County Rd. B                                 6924 Chancery Lane
Georgetown TX 78633-5444                              Platteville WI 53818-9501                         Williamsburg VA 23188-7567



Berkley Badger                                        Bernita Webster                                   Betty and Harold Ackerman
324 Westgate Rd.                                      2342 S. Laurel Ave.                               Linda Walsh
Tarpon Springs FL 34688-7402                          Springfield MO 65807-8103                         9301 Neptune Drive
                                                                                                        Mechanicsville VA 23116-2819


Betty and Joseph Brown                                Blake Rodgers                                     Bobby Smith
1648 Browns Lane                                      12454 Rendon Rd.                                  3211 State Route 14
Hayes VA 23072-3904                                   Burleson TX 76028-3014                            West Plains MO 65775-7469



Bobby Yates                                           Bobby and Terri Bowland                           Bradley Kubik
1901 W. Loop 289, Ste 11                              1220 Vera Lane                                    5639 Glen Oaks Pt.
Lubbock TX 79407-1725                                 Kennedale TX 76060-6002                           West Des Moines IA 50266-6628



Brandon Chen                                          Brenda Henderson                                  Brian Cepetelli
3172 Village Green Dr.                                4244 Summersweet Lane                             83 Ashwood Terrace
Aurora, IL 60504-7258                                 Crowley TX 76036-8906                             Stratford CT 06614-1101
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Brian Fraus                                            Bryan BuzbeeEntered 10/09/18 08:45:41   Desc Main Document    Page 6 of 16
                                                                                                             Carl Brumley
4625 E State Highway 29                                Kijabe, LLC                                           4801 Washburn Ave.
Bertram, TX 78605-4229                                 3602 Vista Chase Court                                Fort Worth TX 76107-3734
                                                       Arlington TX 76001-6963


Cehuan Wang                                            Charles Barry                                         Charles Cobb
5567 Gamay Way                                         33 Collins Street,                                    Financial West Group
San Diego CA 92130-5704                                Worcester MA 01606-1421                               1022 Court Street
                                                                                                             Lynchburg VA 24504-4502


Charles and Katherine Terry                            Charles and Sharon Henslee                            Cheryl Ogrodnik
8903 Madewood Ct.                                      4481 CR 1217                                          6466 Watercrest Way, 301
Granbury TX 76049-4013                                 Cleburne TX 76033-8017                                Lakewood Ranch FL 34202-5238



Chris Lahiji                                           Christopher Friscia                                   Christopher Kennon
1408 Grant St.                                         4312 Hazy Meadow Lane                                 2147 Inman
Santa Monica CA 90405-1614                             Grapevine TX 76051-5717                               Nixa MO 65714-7049



Christopher Rooker                                     Christopher Tasso                                     Claire Macfarland
3728 Summercrest Dr                                    Anne Ciola-Tasso                                      1310 Hackberry Ln.
Fort Worth TX 76109-3301                               148 Miller Rd.                                        Winnetka IL 60093-1608
                                                       Bethany CT 06524-3243


Clint Fowler                                           Eboney Cobb                                           Crystal LeClercq
CFI Ventures, LP                                       Perdue Brandon Fielder Collins & Mott                 1412 Sandalwood Dr.
127 Blush Hill Drive                                   500 E. Border Street, Suite 640                       Murphys CA 95247-9460
Conroe TX 77304-1165                                   Arlington, TX 76010-7457


Cynthia Woods                                          Dana Markovics                                        Daniel Smeester
1412 Blue Quail Run                                    220 Oronoque Rd.                                      545 El Capitan Rd.
Crowley TX 76036-5778                                  Milford CT 06461-1831                                 Danville CA 94526-4943



David Bartczak                                         David Stewart                                         David Vednor
4519 Ringrose Drive                                    4520 S. Harvard                                       9861 Leatrice Dr.
Missouri City TX 77459-2918                            Springfield MO 65804-6711                             Villa Park CA 92861-1315



David Zawisha                                          David and Deborah Allnutt                             David and Lora Lyons
4009 Congress St.                                      8651 Canyon Crossing                                  2121 Pinwood Circle
Fairfield CT 06824-2040                                Lantana TX 76226-5534                                 Arlington TX 76001-5652



David and Shirley Nolsheim                             Deborah Hayden                                        Dennis Opitz
399 150th Ave, Apt 315C                                4520 Cheval Blvd.                                     3949 Stonehenge Rd.
Madeira Beach, FL 33708-2097
                                                       Lutz FL 33558-5331                                    Fort Worth TX 76109-3415
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Derik Einer Lindholm                                 Don Huntley Entered 10/09/18 08:45:41   Desc Main Document    Page 7 of 16
                                                                                                           Donald Calvello
333 Via Lido Nord                                    4804 N. Arcade Ave.                                   14511 Charmeran Ave.
Newport Beach CA 92663-4649                          Fresno CA 93704-3013                                  San Jose CA 95124-3566



Donald Chisholm                                      Donald DiFiore                                        Donald Propst
400 Lake Ave. NE Apt. C304                           2149 S. Kenton                                        6709 Yolanda
Largo FL 33771-1684                                  Aurora CO 80014-1064                                  Fort Worth TX 76112-4129



Donald and Debra Woods                               Douglas Hillenbrand                                   Edward and Mary Lozito
12 Foliate Way                                       2102 Glenview Ln. NE                                  9295 N. Star Dr.
Ladera Ranch CA 92694-1218                           Rochester MN 55906-8398                               Mechanicsville VA 23116-2821



Edwin Hardey                                         Einer Lindholm                                        Elizabeth Williams
5670 Jasper Pointe Cir.                              333 Via Lido Nord                                     2374 Rosendale Village Ave.
Castle Pines CO 80108-9151                           Newport Beach CA 92663-4649                           Henderson NV 89052-8733



Elton Stone                                          Elwanda Santiago                                      Eric Eaton
2009 Oak Grove Rd. E                                 137 Buchanan Court                                    655 Appaloosa Rd.
Burleson TX 76028-6997                               Aledo TX 76008-3803                                   Tarpon Springs FL 34688-9066



Ernest Morgan                                        Eve Dixon                                             Fen V. Lee
28 Pocono Rd.                                        PO Box 1510                                           104 Shore Dr.
Newtown CT 06470-1248                                Fort Worth TX 76101-1510                              Schaumburg IL 60193-4145



Francis M. Highly, Jr.                               Frank Highly                                          Garrett Flynt
6390 Dwane Ave.                                      6390 Dwane Ave.                                       Flynt Family Inc.
San Diego, CA 92120-3845                             San Diego CA 92120-3845                               9944 Delamere Dr.
                                                                                                           Fort Worth TX 76244-8536


Gary Amerson                                         Gary Baird, Jr                                        Gary Donner
5502 Challenger Ct.                                  H. Gary Baird, Jr.                                    908 Main Street
Rockwall TX 75032-8464                               4269 Shorecrest Dr.                                   Wayne NE 68787
                                                     Dallas TX 75209-1721


Gary W. Crews                                        Gary Weiner                                           George Faris, III
ACME Energy Company, LLC                             998 Emerald Bay                                       6650 Trinity Heights Blvd
1795 E. 71st St.                                     Laguna Beach CA 92651-1230                            Ft. Worth TX 76132-3578
Tulsa OK 74136-5108


George Lee Weaver                                    George Phelps                                         Gerald Meyr
11225 Northview Dr.                                  1200 Crescent Dr.                                     33017 48th Ave. SW
Aledo TX 76008-5206                                  Wayne NE 68787-1004                                   Federal Way WA 98023-3311
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Germaine Clarkson                                     Glen Markovics                                        Glendal Page
                                                                                                                    R. Dow8 of 16
1842 Cottage Dr.                                      42 Parkway Terrace                                    1320 Hardisty
Greeneville TN 37745-4388                             Milford CT 06461-1929                                 Bedford TX 76021-6522



Glenn Jason Salsbury                                  Gordon and Sylvia Quan                                Grace and Edward Chu
301 Larkspur Ave.                                     2 W. Terrace Dr.                                      3528 Scottsdale Circle
Corona Del Mar CA 92625-3041                          Houston TX 77007-7039                                 Naperville IL 60564-4628



Grayson County                                        H.W. and Jill Ranelle                                 James Blake Hamm
Linebarger Goggan Blair & Sampson, LLP                4917 Arbol Ct.                                        Snow Spence Green LLP
c/o Laurie A. Spindler                                Fort Worth TX 76126-1847                              2929 Allen Parkway, Suite 2800
2777 N. Stemmons Frwy                                                                                       Houston, TX 77019-7125
Suite 1000
Dallas, TX 75207-2328
Hang Yuan and Yingzi Song                             Harry and Shari Duty                                  Keith William Harvey
3227 N. Carriage Way                                  424 Burton St.                                        The Harvey Law Firm, P.C.
Arlington Heights IL 60004-1503                       Henderson NV 89015-7321                               6510 Abrams Road
                                                                                                            Suite 280
                                                                                                            Dallas, TX 75231-7215

He Yuan                                               Heidi Beh                                             Helen Hale
He Yuan and Ning Li                                   2808 Canto Nubiado                                    51 Lafayette Avenue
95177 Madison St.                                     San Clemente CA 92673-6420                            Annapolis MD 21401-2833
Burr Ridge IL 60527


Herbert and Joan Sobel                                Howard Saretsky                                       Howard and Karen Agster
3311 Tack House Rd.                                   233 Voltz Rd.                                         5402 E. Glide Slope Ct.
Trent Woods NC 28562-6646                             Northbrook IL 60062-4821                              Granbury TX 76049-4481
Honey Duncan
136 Palm Circle
Atlantis FL 33462-6627
Hua Shang                                             Inn Lee                                               Jacalyn Goodrich
77 Dunmore                                            104 Shore Dr.                                         580 Miller Hodge Rd.
Irvine CA 92620-3693                                  Schaumburg IL 60193-4145                              Inman SC 29349-8058



Jack Grumbles                                         Jack Long                                             James Burgess
204 Westfork Dt.                                      2536 Highridge Drive                                  JNJM, LLC
Fort Worth TX 76114-4364                              Chino Hills CA 91709-4890                             7203 Lake Mead Blvd.
                                                                                                            Arlington TX 76016-4137


James Carroll                                         James Krause                                          James Linden
2505 Ridgemoor Ct.                                    500 W. 13th Street                                    500 River Road
Arlington TX 76016-1434                               Fort Worth TX 76102-4657                              Unit 13
                                                                                                            Shelton, CT 06484-4594


James Rosemeyer                                       James and Gerlinde Stevens                            Jan Cheng and Ximing Yang
Bayley Investments, LLC                               1609 Browns Lane                                      6912 Fieldstone Dr.
662 E. Business Hwy 151                               Hayes VA 23072-3904                                   Burr Ridge IL 60527-6968
Platteville WI 53818-3761
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Janis Bridges                                          Janys Schroeder                                       Jared Meisel
2817 Fossil Run Blvd                                   39356 260th St.                                       5423 Winsland Lane
Fort Worth TX 76131-2010                               Kingsley IA 51028-8634                                Charlotte NC 28277-0527



Jason R. Searcy, Ch. 11 Trustee in Jointly A           Jason Searcy, Trustee                                 Jay Pond
c/o Blake Hamm - Snow Spence Green LLP                 c/o Snow Spence Green LLP                             2729 Antero Dr.
2929 Allen Pkwy., Ste. 2800                            2929 Allen Parkway, Suite 2800                        Arlington TX 76006-3707
Houston, TX 77019-7125                                 Houston, TX 77019-7125


Jeff Wilshire                                          Jeffrey Carter                                        Jeffrey Cohen
4001 Kenosha Rd.                                       2300 Bradwood Court                                   24041 Swallowtail Drive
Plano TX 75024-7075                                    Arlington TX 76011-2241                               Laguna Niguel CA 92677-1368



Jeffrey Meyer                                          Jeffrey T. Richard                                    Jeffrey and Linda Richard
7930 S. Jasmine Circle                                 4220 Bluff Point Court                                MidAmerica Financial Svcs, Inc.
Centennial CO 80112-3050                               Hazel Green, WI 53811-9360                            35-B S. Court
                                                                                                             PO Box 418
                                                                                                             Platteville WI 53818-0418

Jeremy Rauhauser                                       Jeremy Szeto                                          Jerry and Joan Radcliff
4412 Canter Way                                        24 Dupont Circle                                      5595 Thatch Cir.
Flower Mound TX 75028-8755                             Sugar Land TX 77479-2521                              Prescott AZ 86305-3824



Jerry and Linda Hays                                   Jia Liu and Richard Z. Lu                             Jiangnan and Mary Chen
687 Cardinal Ridge Rd.                                 120 S. Fiore Pkwy                                     1 Newbury Ct.
Burleson TX 76028-6206                                 Vernon Hills IL 60061-3270                            Hawthorne Woods IL 60047-9144



Jimmy and Linda Walker                                 Jiuzhou Wang and Meimei Xu                            Jocelyn Carter
P.O. Box 931                                           24 Butterfield Road                                   2175 Funston Ave.
Stephenville TX 76401-0009                             Lexington MA 02420-2585                               San Francisco CA 94116-1904



Joel Dow                                               Joel F. Woods                                         Joey and Ida Smith
8816 Calera Dr.                                        1412 Blue Quail Run                                   3622 County Road 4660
Austin TX 78735-1572                                   Crowley TX 76036-5778                                 Pomona MO 65789-9424



Joey and Linda Jo Turner                               John Crowther                                         John Diaz
7309 N. Norman Rd.                                     221 Hidden Acres Lane                                 5648 N. McVicker Ave
Warr Acres OK 73132-5723                               Weatherford TX 76087-8643                             Chicago IL 60646-6103



John Gong                                              John Heckler                                          John Johnson
20603 W. Lakeridge Ct.                                 Kijabe, LLC                                           6154 Haley Lane
Kildeer IL 60047-8315                                  3602 Vista Chase Court                                Ft. Worth TX 76132-3875
                                                       Arlington TX 76001-6963
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John McElroy                                         John Miyasaki                                        John Pollick
109 SE Rambling Trail                                1415 W. Rascher Ave.                                 2336 Fir St.
Weatherford TX 76087-7631                            Chicago IL 60640-1205                                Glenview IL 60025-2704



John and Christy Fonvielle                           John and Felicia King                                Jonathan Alex Perkins
Tenants in Common                                    976 Ekman Dr.                                        646 North Armstead St.
212 Casa Blanca Cir                                  Batavia IL 60510-8940                                Alexandria VA 22312-2928
Ft. Worth TX 76107-1804


Joseph Bolin                                         Joseph Little                                        Joseph and Arlene Seminoro
3830 Rice Blvd.                                      18646 Halff Bend Dr.                                 25 Washington Street
Houston TX 77005-2826                                Cypress TX 77433-5090                                Trumbull CT 06611-4668



Joseph and Carol Arpino                              Joseph and Caroline Schmitz                          Judith Watkins
104 Lavery Lane                                      4565 Pressley Rd                                     3004 Steeplechase Trail
Milford CT 06461-1624                                Santa Rosa CA 95404-8866                             Arlington TX 76016-2317



Jun Zhou                                             Kathy Adams                                          Kazu Miyasaki
748 Sigmund Rd.                                      Kijabe, LLC                                          1415 W. Rascher Ave.
Naperville IL 60563-1338                             3602 Vista Chase Court                               Chicago IL 60640-1205
                                                     Arlington TX 76001-6963


Kazuo and Rosalyn Nanya                              Keith Jackson                                        Kelly Sanders
432 40th Ave.                                        Riverstone Resources, Ltd.                           Hupakoe, LLC
San Francisco CA 94121-1510                          2591 Dallas Parkway, Suite 300                       3602 Vista Chase Ct.
                                                     Frisco TX 75034-8563                                 Arlington TX 76001-6963


Kelly Sanders                                        Kening Ma                                            Kenneth Aldrich
Kijabe, LLC                                          3236 Pepper Tree Point                               YKA Partners, LLC
3602 Vista Chase Court                               Chino Hills CA 91709-1504                            3200 Airport Ave., Suite 16
Arlington TX 76001-6963                                                                                   Santa Monica CA 90405-6116


Kenneth Cheung                                       Kenneth and Patricia Lowe                            Kenneth and Terryalin Chapman
3902 Coulter Ct                                      1504 Dolorosa Ct.                                    6447 S. Indianapolis Place
Arlington TX 76016-3816                              The Villages FL 32159-9111                           Tulsa OK 74136-1422



Kenneth and Tommie Dougan                            Kevin and Anne Marie Peterson                        Kevin and Denise Potempa
1914 Briarwood Dr                                    305 Martins Cove Rd.                                 KAPAA, LLC
Grand Prairie TX 75050-2216                          Annapolis MD 21409-5952                              Wailua LLC
                                                                                                          P.O. Box 5156
                                                                                                          Scottsdale AZ 85261-5156

Kimberly Fuller                                      Krystle Lindholm                                     Kurt Erickson
PI Resources, LLC                                    333 Via Lido Nord                                    4848 E. Milton Dr.
5455 Honeysuckle Rd.                                 Newport Beach CA 92663-4649                          Cave Creek AZ 85331-5965
Midlothian TX 76065-7006
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Laddie Zimmet                                           Lance BarlowEntered 10/09/18 08:45:41   Desc Main Document
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                                                                                                                      Macfarland
5101 FM 1187                                            Barlow Investments                                    1310 Hackberry Ln.
Burleson TX 76028-3053                                  2727 E. Kirby DR, 9E                                  Winnetka IL 60093-1608
                                                        Houston TX 77098-1149


Lawrence and Theodora Esposito                          Lee Eggers                                            Lei Yan
155 Rimmon Rd                                           TMICO Lee G. Eggers                                   1505 Clarkson Ct.
North Haven CT 06473-2873                               490 Camp St.                                          Naperville IL 60565-1733
                                                        Platteville WI 53818-1707


Leland Phillips                                         Lewis Graham                                          Lihong Huang and Xiaoli Zhang
3709 Tumbling Trail Ct.                                 Kijabe, LLC                                           26597 N. Kenwood Ct.
Fort Worth TX 76116-9328                                3602 Vista Chase Court                                Mundelein IL 60060-3540
                                                        Arlington TX 76001-6963


Liping Zhong                                            Loewinsohn Flegle Deary Simon, LLP                    Lucile Sims Wise
426 E. Sunnyside Ave.                                   c/o Daniel P. Winikka                                 3600 Wosley Dr.
Libertyville IL 60048-2937                              12377 Merit Drive, Suite 900                          Fort Worth TX 76133-2137
                                                        Dallas,TX 75251-3102


Luis Gonzalez                                           Lynne Bentsen                                         Malcolm V. Vye IRA
2701 N. Grapevine Mills Blvd. 728                       Barlow Investment Ltd.                                145 N. Sheridan
Grapevine TX 76051-2060                                 2727 Kirby Dr. 9E                                     Winnetka IL 60093-4223
                                                        Houston TX 77098-1149


Marc Henn                                               Margaret McElroy                                      Margaret Ng and Ross Chan
Harvest Financial Advisors, LLC                         109 SE Rambling Trail                                 6112 Ascot Drive
440 Glendale Ave.                                       Burleson TX 76087-7631                                Oakland CA 94611-2527
Cincinnati OH 45246-3815


Margaret and David Grubbs                               Margarett Propst                                      Marisa Lindholm
205 Kenmore Ave.                                        6709 Yolanda Dr.                                      333 Via Lido Nord
Elmhurst IL 60126-3517                                  Fort Worth TX 76112-4129                              Newport Beach CA 92663-4649



Mark Modlin                                             Mark and Romalyn Trewitt                              Marlow and Rebecca Williams
4005 Kenosha Rd.                                        4017 Messina Drive                                    197 Golden Crown Ave.
Plano TX 75024-7075                                     Plano TX 75093-7038                                   Henderson NV 89002-9267



Marty Prinz                                             Marvin and Mary Van Hal                               Mary A. Gardecki
Blind Canyon                                            280 East Bob Jones Rd.                                68 Auburn St.
1780 N. Kimball Avenue                                  Southlake TX 76092-9275                               Stratford CT 06614-3701
Southlake TX 76092-4002


Mary Ann Swift                                          Mary Jane Pompa                                       Mary Louise and Albert Edwards
200 N. Matteson Ave                                     21 Basking Ridge Rd.                                  778 Old Stratfield Rd.
Republic MO 65738-1675                                  Shelton CT 06484-3897                                 Fairfield CT 06825-7427
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Mary Russell                                           Meiyu Chen Entered 10/09/18 08:45:41   Desc Main Document
                                                                                                            MichaelPage 12 of 16
                                                                                                                    Kudlik
3111 Kelly Rd                                          913 Ashford Lane                                     4760 Highland Drive Suite 245
Aledo TX 76008-4882                                    Westmont IL 60559-2656                               Holladay Utah 84117-5149



Michael Kusheba                                        Michael Mitchell                                     Michael Musaraca
235 Deerfield Dr                                       300 Landwyck Ln.                                     2414 Blue Spruce Ct.
Stratford CT 06614-2767                                Flower Mound TX 75028-7144                           Aurora IL 60502-6420



Michael Niemann                                        Michael Pettis                                       Michael Ranelle
Julie Wakeman                                          Pettis Oil and Gas, LLC                              4220 Harlanwood
14105 W. 72nd St.                                      3140 Brookhollow Ct.                                 Fort Worth TX 76109-2045
Shawnee KS 66216-5520                                  Prosper TX 75078-0529


Michael Sobel                                          Michael Yates                                        Michael and Pamela Spitzer
3311 Tack House Rd.                                    22292 Regnart Rd.                                    2010 Roma Ave.
Trent Woods NC 28562-6646                              Cupertino CA 95014-4845                              Fruita CO 81521-8616



Mike Wang                                              Molly Bayer                                          Mona Fields
390 Foothill Ave.                                      Kijabe, LLC                                          2006 Underwood Rd
Sierra Madre CA 91024-1518                             3602 Vista Chase Court                               Aledo TX 76008-2447
                                                       Arlington TX 76001-6963


Monica Markovics                                       Christopher Moser                                    Natalia Ryndin
37 Parkway Terrace                                     2001 Bryan Street, Suite 1800                        28832 Sean Dr.
Milford CT 06461-1930                                  Dallas, TX 75201-3070                                Laguna Niguel CA 92677-4661



Nathan Sanders                                         Neil Agrawal                                         Noel and Sandra Markovics
BESCO Family Investments, LLC                          2962 E. 45th Place                                   42 Parkway Terrace
3309 Mansfield Hwy.                                    Tulsa OK 74105-5204                                  Milford CT 06461-1929
Fort Worth TX 76119-6025


Noral and Juanita Gregory                              Oklahoma City OK 73156                               Om and Veena Agrawal
2881 Oakbriar Trail                                    Julie Wakeman                                        209 Kenshire Dr.
Fort Worth TX 76109-5556                               14105 W. 72nd St.                                    Benbrook TX 76126-4113
                                                       Shawnee KS 66216-5520


Pamela Smith                                           Payson Petroleum 3 Well, L.P.                        Peili Wu
481 Pecan                                              2652 FM 407 E, Ste. 250                              3108 Regal Dr.
Burleson TX 76028-6309                                 Bartonville, TX 76226-7026                           Arlington TX 76016-2028



Peter Backes                                           Peter and Monika Wettenstein                         Philip Zou
9448 Quail Ridge Dr.                                   5325 E. Kathleen Rd.                                 1065 Sanctuary Ct.
Las Vegas NV 89134-8938                                Scottsdale AZ 85254-1758                             Vernon Hills IL 60061-3608
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Philip and Anita Strand                                 Pottsboro ISD                                        Pottsboro ISD
1911 Nelson Ct.                                         % Perdue Brandon Fielder Et Al                       c/o Perdue Brandon Fielder et al
DeSoto TX 75115-2142                                    500 E. Border Street                                 500 East Border Street, Suite 640
                                                        Suite 640                                            Arlington, TX 76010-7457
                                                        Arlington, TX 76010-7457

Prem Kumar                                              Quilling, Selander, Lownds, Winslett & Moser         Randall McKenna
Wildflower LLC                                          2001 Bryan Street, Suite 1800                        North Central Texas Holding and
817 E. San Angelo Ave.                                  Dallas, TX 75201-3070                                Investments, Inc.
Gilbert AZ 85234-3513                                                                                        400 King Ranch Rd.
                                                                                                             Southlake TX 76092-2026

Randall Swift                                           Randy Lew                                            Ravindra and Kum Prakash
200 N. Matteson Ave                                     4647 Sidonia Ct.                                     1170 Alderbrook Lane
Republic MO 65738-1675                                  Ft. Worth TX 76126-1920                              San Jose CA 95129-2956



Raymond and Janet Smith                                 Rebecca Lowe                                         Reinhardt and Merlee Lange
623 E. River Quarry Court                               643 SW T Highway                                     136 Benedict Ave.
Eagle ID 83616-6351                                     Holden MO 64040-8107                                 Fairfield CT 06825-1705



Renjie Fu                                               Richard Graham                                       Richard Sobel
405 E. 58th St.                                         31331 S. Coast Hwy.                                  7410 Center Bay Dr.
Westmont IL 60559-3368                                  Laguna Beach CA 92651-6989                           North Bay Village FL 33141-4014



Richard and Sue Rector                                  Rick Gardner                                         Rickey and Wendy Kelman
5813 Wales Avenue                                       420 Aspen Street                                     3120 E. Puget Ave.
Fort Worth TX 76133-2711                                Prescott AZ 86303-4004                               Phoenix AZ 85028-5329



Robert Mendonsa                                         Robert Watkins                                       Robert and Carole Orsillo
4507 Meadow Hill                                        3004 Steeplechase Trail                              60 Brierwood Drive
McKinney TX 75070-4613                                  Arlington TX 76016-2317                              Watertown CT 06795-2016



Robert and Marianne Laska                               Robert and Peggy Yacobi                              Rocky and Anna Howington
73 Centennial Dr.                                       6 Chanteraine Close                                  1 Saint Louis Lane
Milford CT 06461-1662                                   Williamsburg VA 23185-8604                           Pleasant Hill CA 94523-1139



Roger Damron                                            Roland Lentz                                         Romalyn Trewitt
PO Box 21729                                            1521 Vintage Hill Dr                                 4017 Messina Drive
Chattanooga TN 37424-0729                               Wayne NE 68787-1236                                  Plano TX 75093-7038



Ron Franco                                              Ronald Barfield                                      Ronald Guichard
Bluepack LLC                                            700 W. Harwood, Suite A                              2937 N. Talman Ave
P.O. Box 5287                                           Hurst TX 76054-3391                                  Chicago IL 60618-7814
Culver City CA 90231-5287
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Ronald Oberle                                           Ronald and Cheryl Waggoner                           Ronald Page 14 of 16
                                                                                                                    and Libbie  Adams
30525 Fort Apache Drive                                 834 Doubletree Lane                                  115 Ravenhill Dr.
Congress AZ 85332                                       Springfield MO 65810-3261                            Highlandville MO 65669-8227



Rose Marie Klein                                        Roy Williams                                         Roy and Carol Ray
1389 Calle de las Granvas                               190 Mt. Pleasant Ave.                                2000 Underwood Rd.
Livermore CA 94551-2595                                 Stratford CT 06614-3420                              Aledo TX 76008-2447



Rudolph Perry                                           Russell Karr                                         Ryan Grossman
48 E. Bison Circle                                      8108 Modena Dr                                       207 Mt. Oak Pl.
Florissant CO 80816-7157                                Fort Worth TX 76126-6113                             Annapolis MD 21409-5868



Sandra Markovics                                        Sara Ng                                              Jason R Searcy
42 Parkway Terrace                                      218 Wood Glen Lane                                   PO Box 3929
Milford CT 06461-1929                                   Oak Brook IL 60523-1533                              Longview, TX 75606-3929



Jason R. Searcy                                         Joshua P. Searcy                                     Shannon Kmak
Trustee of Payson Petroleum, Inc.                       Searcy & Searcy, P.C.                                4005 Kenosha Rd.
PO Box 3929                                             PO Box 3929                                          Plano TX 75024-7075
Longview, TX 75606-3929                                 Longview, TX 75606-3929


Sharlene Sims Horak                                     Sharolyn Richardson                                  Shawn Miller
4436 Overton Terrace                                    8003 Turkey Trail                                    Kijabe, LLC
Fort Worth TX 76109-2517                                Benbrook TX 76126-6101                               3602 Vista Chase Court
                                                                                                             Arlington TX 76001-6963


Shirley Nolsheim                                        Shrimant and Susy Ayaram                             Shu and Lisa Chen
399 150th Ave, Apt 315C                                 222 Glen Ridge Dr.                                   5844 Golden Eye Dr.
Madeira Beach, FL 33708-2097
                                                        Murphy TX 75094-4205                                 Long Grove IL 60047-5048



Laurie A. Spindler                                      Stephen Brown                                        Steven O’Leary
Linebarger, Goggan, Blair & Sampson                     8601 Westown Parkway 6108                            Helen M. Hale - Principle
2777 N. Stemmons Frwy Ste 1000                          West Des Moines IA 50266-1632                        73 Conduit St.
Dallas, TX 75207-2328                                                                                        Annapolis MD 21401-2601


Steven and Carolyn Wiesenfeld                           Sue Chappell                                         Sunil Agrawal
66 Chester Rd.                                          5071 S. Burrows Ave.                                 4323 S. Quincy Place
Easton CT 06612-1806                                    Springfield MO 65810-2054                            Tulsa OK 74105-4135



Suresh and Malini Kumar                                 Taher Sobhy                                          Tami Rodgers
5210 Pine Forest Rd.                                    41 W. Mallard Lane                                   3309 Wild Oaks Ct
Houston TX 77056-1313                                   Lakeforest IL 60045-2902                             Burleson TX 76028-2333
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Tammy McKain                                            Tapan and Anisa Daftari                              Tarry Dahmer
Kijabe, LLC                                             6595 Old Riverside Dr.                               2400 SW Wintercreek Ct.
3602 Vista Chase Court                                  Altanta GA 30328-2744                                Lee’s Summit MO 64081-4085
Arlington TX 76001-6963


Terry Scharig                                           Theodora Esposito                                    Theodore Lung
Payson Petroleum                                        155 Rimmon Rd                                        1839 E 2453rd Lane
34601 E. Shore Rd.                                      North Haven CT 06473-2873                            Camp Point IL 62320-2129
Lone Jack MO 64070-9169


Thomas Clayton                                          Thomas Hayes                                         Thomas Hoppe
26770 Sale Barn Ln                                      5115 N. Dysart Road, 202-217                         11051 Dormie Drive
Belmont WI 53510-9725                                   Litchfield Park AZ 85340-3032                        San Antonio FL 33576-7048



Thomas and Lois Partridge                               Timothy Carman                                       Timothy Cypert
199 CR 1747                                             2215 River Ridge Rd.                                 703 Jackson St.
Clifton TX 76634-3990                                   Arlington TX 76017-2631                              Rockwall TX 75087-2212



Timothy Moore                                           Timothy and Stacey Gibson                            Todd Stephens
313 Stonebridge Dr.                                     145 Links Lane                                       230 Miramar Way
Rockwall TX 75087-3434                                  Aledo TX 76008-6917                                  West Palm Beach FL 33405-4712



Todd and Melanie Gregory                                Tom Hinshaw                                          Toussaint Smith
600 W. Republic Road                                    HRC Roofing                                          2315 Legend Woods Ct.
Suite A116                                              2845 Roadway Drive                                   Sugar Land TX 77479-5474
Springfield MO 65807-5805                               Columbus IN 47201-7465


Tracy G. Ward                                           Travis Petree                                        U.S. Attorney General
2313 S. Toledo Ave.                                     2951 Rainbow Drive                                   Department of Justice
Tulsa OK 74114-3622                                     Mason City IA 50401-8931                             Main Justice Building
                                                                                                             10th & Constitution Ave., NW
                                                                                                             Washington, DC 20530-0001

US Trustee                                              Van and Mary Butler                                  Virginia Humphrey
Office of the U.S. Trustee                              62 Cypress Ct.                                       National Financial Services, LLC
110 N. College Ave.                                     Durango CO 81301-3782                                340 S. Lemon Ave. 8337
Suite 300                                                                                                    Walnut CA 91789-2706
Tyler, TX 75702-7231

Virginia Rhodes                                         Warren and Fay Bush                                  Wendy Yang and Li Liu
7570 E. Manley Dr.                                      PO Box 80140                                         Delftechpark 26, 2628
Prescott Valley AZ 86314-5166                           Keller TX 76244-2902                                 XH Delft, Netherlands



Wenzhong and Dana An                                    William Cozad                                        William Dax Symonds
29602 N. Birch Ave.                                     10401 W. Charleston Blvd., V6                        3170 Westcliff Rd. West
Lake Bluff IL 60044-1176                                Las Vegas NV 89135-8706                              Fort Worth TX 76109-2128
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William Kloster                                         William Martin                                       WilliamPage
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112 Tres Vista Court                                    3708 Brookfield                                      338 Park Brook Dr.
Cresson TX 76035-5838                                   Plano TX 75025-3780                                  Dallas TX 75218-1152



William and Deborah Hayden                              William and Joann Whelpley                           Daniel P. Winikka
4520 Cheval Blvd.                                       308 Martel Ct.                                       Loewinsohn Flegle Deary Simon, LLP
Lutz FL 33558-5331                                      Coppell TX 75019-7583                                12377 Merit Drive
                                                                                                             Suite 900
                                                                                                             Dallas, TX 75251-3102

Woodrow and Jo Ann Wilson                               Yang Zhao and Hong Yang                              Yanhua Shi
59250 E. 190 Rd                                         31 E. 59th St.                                       447 Lynn Ct.
Fairland OK 74343-1753                                  Westmont IL 60559-2501                               Clarendon Hills IL 60514-1000



Ying Qi                                                 Ying and Siwen Qu                                    Yulduz Cohen
2220 Joyce Lane                                         1725 Holly Ct.                                       28264 Via Marcus
Naperville IL 60564-4404                                Long Grove IL 60047-5139                             Laguna Niguel CA 92677-7527



Zhong Wu                                                Zhongwen Huang
3880 Tahoe St.                                          Huifang Liang
West Sacramento CA 95691-5452                           3915 Snowbird Lane
                                                        Northbrook IL 60062
                                                        ZiJun Zhao
                                                        Kraehenbruch 60062-4269



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Linebarger Goggan Blair & Sampson, LLP                  Kraehenbruch 4                                       Seven Wells Royalty, LLC
c/o Laurie A. Spindler                                  Dortmund 44227                                       P.O. Box 21866
2777 N. Stemmons Frwy
Suite 1000
Dallas, TX 75207-2328
(u)Loewinsohn Flegle Deary Simon, LLP                   (d)Christopher Moser                                 (d)Jason R. Searcy
                                                        2001 Bryan Street, Suite 1800                        P. O. Box 3929
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